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AO 245B (Rev. OOT1) Judgment in a Criminal Case
Sheet |

 

UNITED STATES DISTRICT COURT

EASTERN District of PENNSYLVANIA

)
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
v. )
)
RYAN SEALS ) Case Number: DPAE2: 12CRO00206
USM Number: — 68266-066
) Salvatore Adamo, Esquire
Detendant’s Attorney
THE DEFENDANT:
[_] pleaded guilty 10 count(s)
["] pleaded nolo contendere to count(s)
which was accepted by the court.
DX] was found guilty on count(s) 1
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18USC§922(g)( 1) &
924(e} Possession of a firearm and ammunition by a convicted felon 8/10/2011 |
‘The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[| |The defendant has been found not guilty on count(s)
[ |Count(s) 7 [jis [[Jare dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

4/41/2013
Date of ay Judgment
gnature of Judge —_—

   

& Michael M. Baylson, U.S.D.C.J,

Name and Title of Judge

ilis fy3

Date
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Sheet 2 — Imprisonment
Judgment - - Page 2 of
DEFENDANT: RYAN SEALS
CASE NUMBER: DPAE2:12CR000206

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
tolal term of:
One hundred ninety two (192) months.

[_] The court makes the following recommendations to the Bureau of Prisons:

DX] The defendant is remanded to the custody of the United States Marshal.

[_] The defendant shall surrender to the United States Marshal for this districl:

Cj at C] a.m. | p.m. on

[_] as notified by the United States Marshal.

[_] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[_] before 2 p.m. on
{_] as notified by the United States Marshal.

L_] as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSILAL
By

DEPUTY UNITED STATES MARSHAL.
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Sheet 3-- Supervised Release
Judgment—Page 3 of 6
DEFENDANT: RYAN SEALS
CASE NUMBER: DPAE2:12CR000206

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for aterm of :

Three (3) years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance, The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court's determination that the defendant poses a Jow risk of
future substance abuse. (Check, ifupplicadte.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon, (Check, if applicable.J
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifapplicable J

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e¢ seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

O tf) wWeO

The defendant shall participate in an approved program for domestic violence. (Cheek, f applicable)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report te the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully ali inquiries by the probation officer and follow the instructions of the probation officer,
4) the defendant shall support his or her dependents and meet other family responsibilities:

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscat.on of
any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as dirccted by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement.

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Sheet 34 — Supervised Release
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DEFENDANT: RYAN SEALS
CASE NUMBER: DPAE2: 12CR000206

ADDITIONAL SUPERVISED RELEASE TERMS

The defendant shall provide the US Probation Office with full disclosure of his financial records to inchide yearly income tax retumms upon
the request of the US Probation Office. The defendant shall cooperate with the probation officer in the investigation of his financial
dealings and shall provide truthful statements of his income.

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AO 245R (Rey. 09/11} Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 5 of 6
DEFENDANT: RYAN SEALS
CASE NUMBER: DPAE2: 1 2CR000206

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monelary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ 5,000.00 S
["] The determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (40 245C) will be entered

after such determination.

[_] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payce shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims rnust be

paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

TOTALS $ $
[ ] Restitution amount ordered pursuant to plea agreement $

[_] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subiect
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[J] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(X] the interest requirement is waived for the [x] fine [_] restitution.

(_] the interest requirement for the [_] fine [_] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, LIGA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996,
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AQ 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgmem -- Page 6 of
DEFENDANT: RYAN SEALS
CASE NUMBER: DPAE2: 12CRO000206

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability 1o pay, payment of the total criminal monetary penalties is due as follows:
A [&X] Lumpsum payment of $ 5,100.00 due immediately, balance due

[_] not later than

, OF
BX] in accordance [le LJ 0, [) Bor §X F below: or

B [| Payment to begin immediately (may be combined with [] ¢, [.} D,or [_] F betow); or
C  [_] Payment in equal fe.g., weekly, monthly, quarterly) installments of $ over a period of
fe.g.. months or years), lO commence fee. 30 or 6f7 days) after the date of this judgment, or
D  [_] Payment in equal fe.g.. weekly, monthly. quarterly) installments of $ over a period of
fe.g.. months or years}, lo commence fe.g., 34) or 60 days) after release from imprisonment to a
term of supervision; or
&  [_} Payment during the term of supervised release will commence within fe.g, 30 or 60 days) after release from

imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F XJ] Special instructions regarding the payment of criminal monetary penalties:

The defendant may participate in the Bureau of Prisons Inmate Financial Responsibility Program and provide a minimum payment
of $25.00 per quarter towards the fine/restitution. In the event the fine/restitution is not paid prior to the commencement of
supervision, the defendant shal! satisfy the amount due in monthly installments of not less than $50.00 to commence 30 days after
release from confinement. The defendant shall notify the US Attorney for this district within 30 days of any change of mailing

address or residence that occurs while any portion of the fine‘restitution remains unpaid.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial

Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant member), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

[_] The defendant shall pay the cost of prosecution.
[_] The defendant shall pay the following court cost(s):

[_] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applicd in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,

(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
